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                         IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

 UNITED STATES OF AMERICA                             §
                                                      §
                                                      § CASE NUMBER 6:24-CR-00038-JDK
 v.                                                   §
                                                      §
                                                      §
 JUSTIN RAY JONES                                     §


                ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S
                     REPORT AND FINDING DEFENDANT GUILTY

             The Court referred this matter to the Honorable John D. Love, United States

      Magistrate Judge, for administration of a guilty plea under Federal Rule of Criminal

      Procedure 11. The Magistrate Judge conducted a hearing in the form and manner prescribed

      by Rule 11 and issued Findings of Fact and Recommendation on Guilty Plea. The Magistrate

      Judge recommended that the Court accept Defendant’s guilty plea and adjudge Defendant

      guilty on Count One of the Indictment.

             The parties have not objected to the Magistrate Judge’s findings.

             The Court hereby ADOPTS the Findings of Fact and Recommendation on Guilty Plea

      of the United States Magistrate Judge. The Court also accepts Defendant’s plea but defers

      acceptance of the plea agreement until after review of the presentence report.

             In accordance with Defendant’s guilty plea, the Court finds Defendant Justin Ray

      Jones GUILTY of Count One of the Indictment, charging a violation of Title 18 U.S.C. §

      922(g)(1) - Felon in Possession of a Firearm.

      So ordered and signed on this
      Mar 10, 2025
